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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


  In re:                                               Chapter 7

  TEAM SYSTEMS INTERNATIONAL, LLC, Case No. 22-10066 (CTG)

                   Debtor.                             Hearing Date: 9/20/23 at 10:00
                                                       a.m. (ET)


                    OBJECTION OF THE DEBTOR’S MEMBERS TO THE
                TRUSTEE’S MOTION PURSUANT TO BANKRUPTCY RULE 9019
                TO AUTHORIZE AND APPROVE THE SETTLEMENT BETWEEN
                     THE TRUSTEE AND THE JUDGMENT CREDITORS

           Deborah Evans Mott, Steven M. Acosta, Christopher Mott and John S. Maciorowski

(collectively, the “Members”), by and through their undersigned counsel, hereby submit this

Objection (the “Objection”) to the Motion (the “Motion”) of the Chapter 7 Trustee (the “Trustee”)

pursuant to Fed. R. Bankr. P. 9019 Authorizing and Approving the Settlement Agreement Between

the Trustee and the Judgment Creditors.

                                  PRELIMINARY STATEMENT

           1.     The Debtor in this case filed for bankruptcy after being on the wrong end of a $6.2

million judgment arising from a breach of contract lawsuit that was tried in federal district court

in Florida. The Debtor (post-judgment and pre-bankruptcy) invested in pursuit of an appeal in the

United States Court of Appeals for the Eleventh Circuit. An opening brief was filed, and that brief

sets out compelling grounds for reversal of the district court judgment, with the core arguments

focused upon independent legal grounds that do not depend on credibility assessments or

challenges to the jury’s findings of fact. If even one of the core appellate challenges were to

succeed, it would reduce the judgment from $6.2 million to zero, and could end the litigation

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entirely (without a remand for a second trial). Debtor (through its individual members) has the

opportunity to see the 11th Circuit appeal through to fruition, with the expense of a reply brief and

potential oral argument being absorbed by the individual members, rather than Debtor’s

bankruptcy estate.

          2.    Given this background, any good-faith actor in Debtor’s shoes would normally leap

at the chance to pursue the appeal, especially if the only alternative was a “settlement” in which

Debtor’s Judgment Creditors would be paid 90 cents on the dollar in fulfillment of a $6.2 million

judgment that is susceptible to multiple avenues of appellate attack. Debtor has little to lose and

everything to gain by pursuing the 11th Circuit appeal, especially given that the opening appellate

brief is a sunk cost, and the remaining appellate work can be accomplished at no expense to Debtor.

The Trustee has not articulated any sound basis, and has not identified any compelling bankruptcy

or non-bankruptcy reason, to abandon the appeal and sign off on a 90% settlement. And the Trustee

certainly has not articulated a compelling basis for rushing to achieve this outcome now, without

allowing sufficient time for full consideration of the various factors and developments that might

shape Debtor’s options and leverage with respect to the adverse $6.2 million judgment.

Accordingly, the Trustee’s motion to approve the settlement disposing of the appeal, and saddling

the estate with the obligation to pay millions of dollars, should be denied.

                                 RELEVANT BACKGROUND

          3.    As the Court knows, the origin of this chapter 7 case is litigation resulting in a

judgment against the Debtor in the amount of approximately $6.2 million (the “Judgment”). On

or about December 29, 2021, the Debtor commenced an appeal of that Judgment in the United

States Court of Appeals for the Eleventh Circuit (Case No. 21-13662) (the “Appeal”), asserting




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several grounds to reverse the Judgment. The substance of the Debtor’s Appeal is discussed more

fully below.

          4.    On January 18, 2022, the Debtor commenced its voluntary case under Chapter 11

of the Bankruptcy Code. The Debtor's chapter 11 case never had the chance to get off the ground.

Shortly after the Petition Date, Debtor's counsel abruptly withdrew leaving the Debtor without

counsel for several weeks at a critical juncture in its case.

          5.    On March 31, 2022, following a hearing on dismissal or conversion of the case, an

order was entered converting the case from chapter 11 to chapter 7. George L. Miller (the

“Trustee”) was appointed as the interim chapter 7 trustee.

          6.    On April 27, 2022, the Judgment Creditors each filed a proof of claim premised on

the judgment, seeking an aggregate amount of approximately $6.2 million.

          7.    In connection with his appointment, the Trustee commented on the pending Appeal,

the Judgment and the Judgment Creditors’ proofs of claim. The Trustee acknowledged that

“prosecution of the Appeal may be in the best interests of the other creditors,” see Bankr. D.I. 177

at ¶ 28, and noted that “[i]f the Debtor's arguments in the Appeal are successful, the Debtor actually

overpaid [Judgment Creditors] by at least $95,032 and would have an affirmative claim against

them to recover such overpayment[,]” id. at ¶ 31.

          8.    In fact, in connection with a disputed trustee election in this chapter 7 case, the

Trustee objected to the claims asserted by the Judgment Creditors and represented to the Court

that the Judgement Creditors held “disputed” claims “as to both liability and amount” that are

subject to a “compelling” appeal. (See Bankr. D.I. 164 at ¶ 8 (“By the Appeal, the Debtor continues

to dispute both the Debtor's liability on, and the amount of, the Judgments on various grounds. . .



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. The Opening Brief [filed in the Appeal] details the Debtor's various disputes with respect to the

Judgments and the Trustee incorporates the Opening Brief into this Preliminary Objection by

reference.”); see Transcript of June 15, 2022 Hearing, attached hereto as Exhibit A, at 55: 4-16

(The Trustee testified that he “think[s] [the Appeal] has merit,” and “absolutely” agree that issues

on appeal should be further explored “because the mistakes are so large, you know, we're talking

several million dollars.”); Bankr. D.I. at 177 at ¶ 29 (“Despite the [Judgment Creditors'] efforts to

undermine the arguments raised by the Debtor in the Appeal and Opening Brief, the Appeal is

compelling”).

          9.     After initially twice describing the Appeal as “compelling,” confirming dispute as

to “the Debtor's liability on, and the amount of, the Judgments on various grounds,” and

characterizing the Judgment as premised on “mistakes . . . so large, you know, we're talking several

million dollars,” the Trustee has purposefully ignored the Appeal to date. Despite repeated urging

by the Members, the Trustee has never sought to lift the stay of the Appeal or otherwise take any

steps to prosecute the Appeal. As is set forth below, the Trustee also rejected, on spurious grounds,

repeated offers by the Members to fund the Appeal.

          10.    The Trustee’s administration of this Estate has followed a path markedly different

from the path he initially articulated. Rather than contemporaneously seeking to reduce the

aggregate amount of claims asserted against the Estate by, among other things, moving forward

with the Appeal, and seeking to file claims and collect receivables to monetize existing property of

the Estate, the Trustee's focus has been entirely on preparing and prosecuting litigation including

seeking injunctive relief against the Members, among others. A more detailed discussion of the

Trustee’s turning this solvent chapter 7 case into one of litigation against the Members instead of

claims reduction and receivables collection was set forth in Adv. Pro. D.I. 62.


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          11.    In or around June, 2023, the Members learned publicly-available information

indicating that the Federal Emergency Management Agency (“FEMA”) was preparing to pay the

Debtor on a claim worth approximately $13.5 million. Presumably, the Trustee was privy to the

same information.

          12.    On July 21, 2023, the Trustee made the present Motion. The Motion discloses that

the Trustee and the Judgment Creditors “have agreed to resolve the Judgment Creditors’ proofs of

claim and the Eleventh Circuit Appeal” on terms set forth in a settlement agreement (the “Proposed

Settlement”). Those terms include the Estate’s payment to the Judgment Creditors, collectively,

in the amount of approximately $5.6 million. This represents payment to the Judgment Creditors

of approximately 90% of their claims.

          13.    The Trustee’s Motion contains no explanation for the timing of the Proposed

Settlement or justification for paying the Judgment Creditors 90% of their claims. Circumstances

support the conclusion that the Trustee believed a significant FEMA payment was imminent and

wanted to quickly pay the Judgment Creditors nearly in full on their claims, both to reduce amounts

distributed to the Members at the conclusion of this solvent chapter 7 case and to hold that amount

out as justification for the Trustee’s continued prosecution of the Adversary Proceeding against

the Members. Again, the same Trustee that twice characterized the Appeal as compelling and the

Judgment as premised on significant “mistakes” now proposes abandoning the Appeal and paying

the Judgment nearly in full.

          14.    Whatever his motivations, the Trustee’s Motion offers this Court only patently

incorrect reasoning and conclusory platitudes to justify the Proposed Settlement. None of the

factors this Court must consider on this Motion suggest that approval of the Proposed Settlement,




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especially at this time, is in the Estate’s best interest. Accordingly, the Motion should be denied

(or deferred) and the Members’ Objection should be sustained.

                                                ARGUMENT

I.        THE MEMBERS HAVE STANDING TO OBJECT TO THE 9019 MOTION

          15.    Because the Trustee has challenged the Members’ standing to take certain actions,

we address the threshold issue of the Members’ standing to object to the Proposed Settlement.

          16.    The Members have a significant economic interest in, and are adversely affected

by, the Proposed Settlement. The Members have standing because the relief requested by the 9019

Motion greatly affects their individual economic and other rights. The Members are the residual

stakeholders in what they maintain is a solvent chapter 7 estate. 1 Assuming receipt of the $13.5

million from FEMA (which may be as high as $15.5 million pursuant to the Prompt Payment Act),

the Trustee is actually paying the Judgement Creditors with non-estate money; i.e., money that

otherwise should be paid to the Members. See In re Remsen Partners, Ltd., 294 B.R. 557,

(S.D.N.Y. 2003) (non-creditor law firm was “aggrieved” and had standing to object to settlement

where it would have the “chance to have an allowed claims” if the settlement was disapproved and

“will have little or no recovery if the settlement is approved”); In re RFE Indus., Inc., 283 F.3d

159, 164 (3rd Cir. 2002) (debtor had standing to object to proposed settlement where it was “clearly

adversely affected by the Settlement”).

          17.    The Proposed Settlement also unnecessarily and adversely affects the Members’

individual interests in other ways. Specifically, the Members are adversely affected by the Trustee

validating the claims of the Judgement Creditors by paying those claims nearly in full. The Debtor



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 This is consistent with the Tax Return prepared and filed by the Trustee with the IRS, which showed many
millions of dollars flowing to equity holders.

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had, and post-chapter 7 will continue to have, a viable business which the Members will own and

intend to operate. Indeed, during the pendency of this chapter 7 case, the Defense Logistics Agency

alone has offered the Debtor over 1,000 opportunities to bid on fuel fulfillment contracts. 2 As is

set forth more fully below, the Judgment represents an illegal commission payment that the Debtor

is barred from paying by applicable statutes and regulations.                     Abandoning the appeal and

acquiescing to paying a substantial settlement amount in relation to the Judgment Creditors’ claims

may be unfavorably viewed by federal agencies as reflecting prior entry into an unlawful

contingent fee agreement by Debtor. That could (a) undermine the ability of the Debtor and the

Members to continue securing government contracts after this chapter 7 case closes, and (b)

independently place at risk prior and anticipated future payments by FEMA under contracts

already fully performed by the Debtor.

           18.      The Members also have standing because they are creditors of the Debtor. As

defendants in the FAC, they have potential §502(h) claims. A contingent claim falls within the

broad definition of claim at §101(5). They also have a claim against the Trustee, his counsel and

the estate for substantial financial loss if the 6 Year SOL expires on the Trustee’s watch, because

the Trustee failed to properly investigate and file claims for the “Alleged A/R.” 3 These are claims

either under §323(b) 4 or within the meaning of §101(5)(B) (“right to an equitable remedy for

breach of performance if such breach gives rise to a right to payment . . . .”). This Court also




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  The Members offered to fund the Appeal because they believe the Judgement is unlawful and should be reversed
but also because they wanted to ensure that, in the event of a settlement, the settlement is structured so that the
Judgment is withdrawn to avoid prejudice to the Debtor going forward.
3
  Unlike ordinary trade receivables, government receivables may increase in value over time due to the Prompt
Payment Act and the Members reserve all rights.

4
    The TSI Members reserve all rights, including under the Barton doctrine.

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afforded the Members standing to object to Archer & Greiner’s interim fee application and

similarly should find standing here.

          19.    Finally, the Trustee acknowledged the Members’ standing to make this Objection

by serving notice of the Motion upon the undersigned counsel, who represent only the Members

(and Addy Road, which is a defendant in the Adversary Proceeding and an affiliate of one or more

Members, and is not a party to this Objection). Rule 9019(a) directs that any motion under Rule

9019 must be served upon “creditors, the United States trustee, the debtor, and indenture trustees

as provided in Rule 2002 and to any other entity as the court may direct.” The undersigned counsel

does not represent any of the parties specified in Rule 9019(a). By providing notice of the Motion

to the undersigned counsel, the Trustee acknowledged that the Members have an interest in the

outcome of the Motion, and therefore have standing to make this Objection.

II.       LEGAL STANDARDS APPLICABLE TO THE TRUSTEE’S MOTION
          20.    The legal standards applicable to this Motion are not contested. The Third Circuit

established those standards in In re Martin, 91 F.3d 389 (3d Cir. 1996), and articulated four factors

to consider when evaluating approval of a settlement under Rule 9019. Those factors are:

(1) probability of success in litigation, (2) the likely difficulties in collection, (3) the complexity

of the underlying litigation, and the expense, inconvenience and delay necessarily attendant to it,

(4) the paramount interests of the creditors. See In re RFE Indus., Inc., 283 F.3d 159, 165 (3rd

Cir. 2002) (citing Martin).

          21.    While the Court need not conduct a mini-trial in evaluating the Martin factors, it is

required to “examine[] the Settlement under the Martin framework” and make findings of fact for

the grant or denial of requested approval of a settlement. Id. Indeed, determination of a Rule 9019

motion “requires a bankruptcy judge to assess and balance the value of the claim that is being


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compromised against the value to the estate of the acceptance of the compromised proposal.” In

re Diocese of Camden, N.J., Case No. 20-21257 (JNP), --- B.R. ---, 2023 WL 5606992, at *7

(D.N.J Aug. 29, 2023) (quoting Martin).

          22.    Here, the Proposed Settlement addresses a claim against the Debtor, and therefore

the second Martin factor, the likely difficulties in collecting on a claim, is not relevant. As is set

forth below, each of the other three Martin factors weigh against approving the Proposed

Settlement.

III.      THE COURT SHOULD NOT APPROVE THE PROPOSED SETTLEMENT
          A.     Probability of Success

          23.    The first Martin factor considers the Debtor’s probability of success in the Appeal

and subsequent proceedings, if any.

          24.    The Debtor’s Appeal Brief (attached hereto as Exhibit B, the “Debtor’s Brief”)

articulates a number of grounds to overturn the Judgment, including:

          25.    First, as a matter of law, it is unlawful for the Judgment Creditors to have received

a percentage commission for merely securing a government contract. See 41 U.S.C. § 3901(b)(1)

(the federal statute prohibits any person from “secur[ing] the contract on an agreement or

understanding for a commission, percentage, brokerage, or contingent fee....”); see also Federal

Acquisition Regulation 52.203-5(a), which was specifically incorporated into FEMA's Request for

Proposal and MATOC (similarly prohibits such contingent fees, defined as “any commission,

percentage, brokerage, or other fee that is contingent upon the success that a person or concern has

in securing a Government contract.”).

          26.    The Debtor should have been allowed to amend its Affirmative Defenses to include

a defense of Illegal Contract, in violation of 41 U.S.C. § 3901(b)(1) and FAR 52.2035, because

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the Judgment Creditors advocated interpreting the Consulting Agreement in a way that makes it

illegal and unenforceable under federal law by claiming a commission for merely helping the

Debtor secure a FEMA contract. 5 Instead, the District Court Judge, relying on a recollection of

testimony, denied the Debtor’s request to amend its Affirmative Defenses. (Debtor’s Br. at 19-

20)

          27.    Importantly, the illegal nature of the contract advocated by Judgment Creditors was

never before the jury. (Id. at 20) In other words, because the Debtor was not permitted to amend

its Affirmative Defenses, the jury was not asked to determine whether or not there was an illegal

contract, and never made that determination. Thus, reversal of the Judgment on this ground does

not require reversing any jury finding that the contract was not illegal.

          28.    Second, the Florida litigation should have been dismissed for lack of subject matter

jurisdiction because Judgment Creditors failed to carry their burden to prove complete diversity of

citizenship. There are citizens of California on both sides, and the Debtor’s Operating Agreement

was correctly amended by vote to add a California resident as a member, eight months before the

Judgment Creditors filed suit. (Debtor’s Br. at 16). The district court focused on an inapposite

technicality regarding an LLC membership resolution to reject the amendment, but acknowledged

the “significant possibility” that it did not have jurisdiction. (See Debtor’s Brief at 15)

          29.    Third, commissions under the Consulting Agreement are expressly limited to sales

of Niagara-brand bottled water. It prohibits any modification unless in writing and signed by all



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  See, e.g., Exhibit C hereto (Transcript of Judgment Creditor Testimony on August 24, 2021) at 201:25-202:20
(advocating that Judgment Creditors’ introducing the Debtor to the office holding the Multiple Award Task Order
Contract entitles Judgment Creditors to a 25% fee “[u]nder that MATOC or any other governmental contracts”);
Exhibit D hereto (Transcript of Judgment Creditors’ Argument on August 23, 2021) at 43:19 -47:04 (arguing that
because of Judgment Creditors’ efforts to secure the Debtor’s contract with the government, Judgment Creditors are
entitled to “25 percent of the net income”)

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parties. (Id. at 21) The Florida court misapplied a rare legal exception to allow an oral or implied

modification in spite of that clause and there was insufficient evidence to support any modification.

(Id. at 21-28)

          30.    Fourth, the Consulting Agreement provides for commissions only on “bottled

water.” In an order denying summary judgment the District Court erred in ruling that parol

evidence would be allowed as to the meaning of the Consulting Agreement and whether it provides

for a commission on drop containers. There is no ambiguity that would require parol evidence

and, under the circumstances, it would have been impossible for the parties to contemplate

anything besides bottled water. The issue never should have gone to the jury and summary

judgment should have been granted. (Id at 29-39)

          31.    Fifth, assuming arguendo that Judgement Creditors are entitled to any amount, the

amounts in the Judgment are erroneous. They were based on a summary by Judgment Creditors’

expert that erroneously excluded over $1 million of expenses paid to Coakley Logistics for

transporting the water to Puerto Rico and over $1 million of expenses related to Bering Straits.

(Id. at 40-43)

          32.    Sixth, the award of $991,498.78 of prejudgment interest should be reversed. The

Debtor showed that only post judgment interest should apply or that any pre judgment interest

should accrue from the date of the verdict. (Id. at 44-47)

          33.    Significantly, reversal on any one of several grounds set forth above would not

result in a new trial, but instead would dispose of, or significantly reduce, the Florida Judgments

as a matter of law. Thus, the Judgment will be dismissed as a matter of law, without the need for

further proceedings, if the Eleventh Circuit finds that it is unlawful as a matter of law for the

Judgment Creditors to have received a percentage commission for merely securing a government

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contract; or that the Florida Litigation should have been dismissed for lack of subject matter

jurisdiction; or that the underlying contract could not have been modified, by its own terms; or that

the underlying contract unambiguously provides for payments only for “bottled water.”

          34.    The Judgment also can be reduced, as a matter of law and without the need for

further proceedings, if the Eleventh Circuit finds that the judgment amounts are erroneous because

they were based on improper expert testimony or finds that pre-judgment interest was granted

inappropriately.

          35.    The Trustee gives this Court no valid reason to conclude that the Appeal is unlikely

to succeed. Instead, the Trustee only engages in attacks on the Members’ credibility, and offers

conclusory statements concerning the Appeal’s supposed lack of merit.

          36.    True to form, the Trustee’s criticism of the Appeal’s merits rests on his assertion

that the Members lack credibility. This attack, while false, is also irrelevant to many of the issues

in the Debtor’s Appeal. When the Debtor argues that payment to the Judgment Creditors under

the theory advanced by the Judgment Creditors at trial would constitute an unlawful contingent

fee payment, the Debtor relies upon the Judgement Creditors’ own admissions and

characterizations of the alleged agreement with the Debtor. (Debtor’s Br. at 17-20) The credibility

of the Members is immaterial. When the Debtor argues that its written agreement with Judgment

Creditors could not be modified orally or by implication, it relies only on caselaw, the

unambiguous language of the written agreement, certain documents put forth by the Judgment

Creditors, and certain conduct alleged by the Judgment Creditors. (Id. at 21-28) Again, the

Member’s credibility is irrelevant to this ground for the Appeal. Consideration of other grounds

for the Debtor’s Appeal results in the same conclusion: even accepting the Trustee’s smears of




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the Members’ credibility – which themselves are false – the Appeal has a likelihood of success on

any number of grounds for which the Members’ credibility is entirely irrelevant. 6

          37.     Instead of offering valid reasons to criticize the Appeal, the Trustee repeatedly

offers only conclusory, unsupported statements of his own assessment that the Appeal will fail and

that the Proposed Settlement therefore is proper. While this Court is not required to substitute its

own judgment for the Trustee’ judgment, it is required to make findings of fact concerning the

probability of the Appeal’s success. The merits of the Debtor’s several grounds for Appeal are

evident from the Debtor’s Brief. Because the Trustee offers no valid reason to consider the Appeal

unlikely to succeed, the first Martin factor weighs against approving the Proposed Settlement.

          B.      The Already-Commenced Appeal Will Not Result In Complex Or Expensive
                  Litigation

          38.     The third Martin factor considers the complexity of the underlying litigation, and

the expense, inconvenience and delay necessarily attendant to it. None of those considerations

warrants settlement with the Judgment Creditors now, by conceding 90% of the Judgment

Creditors’ claims.

          39.     The Appeal will not be, in itself, a complex or expensive undertaking. The Debtor

already commenced the Appeal, including by filing a 63-page brief addressing all of the issues

relevant to the Appeal. The remaining work for the Appeal consists of a reply brief and,



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   The Trustee continues to make mischaracterizations in his effort to portray the Members as bad actors. In this latest
Motion, the Trustee states that “the Debtor never submitted an expert report in the Florida Litigation regarding the net
income and expenses” and “assumes” this was because the expert found he could not rely on the Debtor’s documents.
(Trustee’s Br. ¶ 24) In fact, as evidenced in the Debtor’s Brief (citing to the record), the Debtor submitted an
accounting expert’s report on those exact subjects. (Debtor’s Br. at 41-42) The Trustee also claims that expenses for
a Member’s personal pool were passed off as business expenses in the underlying litigation. This is not true. Because
the Debtor’s documents did not characterize those expenses as bottle water expenses, they were deemed irrelevant by
all parties (and the Judge) in the Florida litigation. (See Exhibit E hereto (Transcript of April 21, 2021 Conference)
at 8) Thus the Debtor did not use those documents in the Florida litigation. Accordingly, the Trustee’s supposed
reasons to criticize the merits of the Appeal are not only irrelevant, but also are false.

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presumably, oral argument. While we do not dismiss the seriousness of those tasks, the fact

remains that the grounds for the Appeal have already been briefed in full, greatly reducing the

complexity and expense of the Appeal going forward.

          40.    Additionally, the Appeal can be completed at no cost to the Estate. As we have

briefed previously, the Members repeatedly offered to fund the entire cost of prosecuting the

Appeal (provided the Members retain sole authority to settle the Appeal), and that offer still stands.

The Trustee has refused to consider that offer or discuss it with Member’s counsel, supposedly on

the ground that this Court’s existing injunctions prevent the Members from paying for the Appeal.

That is not a bona fide reason to dismiss the Members’ offer. The parties can request modification

of those injunctions to allow the Members to pay for the Debtor’s Appeal. Whatever the actual

reason for the Trustee’s refusal to even consider the Member’s offer, his proffered reason clearly

is not it.

          41.    The Trustee raises the specter of “an expensive new trial” following the Appeal.

But even the Trustee concedes that a new trial would arise only from two of the several grounds

for the Debtor’s Appeal. (Trustee’s Br. ¶23) While there is a chance that the Appeal will result

in further District Court proceedings, that result is hardly inevitable. Should it arise, the Trustee

can pursue a settlement reflecting risk and cost to both sides in proceeding further – and with the

benefit of the Judgment being reversed in the meantime.

          42.    Given the present status of the Appeal, the significant possibility that the Appeal

will not result in subsequent proceedings, and the Members’ offer to fund the appeal, the third

Martin factor weighs against approval of the Proposed Settlement.




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          C.     The Interests Of Other Parties

          43.    While the fourth Martin factor is the paramount interest of creditors, that factor is

not limited only to the interests of creditors. Where, as here, the Debtor’s owners have a substantial

stake in the outcome of this bankruptcy case, consideration of the owners’ interests “appears to be

consistent with the purpose of the Martin test – to maximize the recovery of those to whom the

[debtor] has obligations.” RFE, 283 F.3d at 165.

          44.    The Proposed Settlement has no benefit to this Debtor’s creditors or Members. The

Trustee does not even pretend that there is any such benefit, and does not address this Martin factor

in his Motion. Approving the Proposed Settlement at this stage of the Bankruptcy proceeding does

not advance the administration of the Estate, as no administrative step hinges on the Proposed

Settlement being approved. Neither is the Proposed Settlement so advantageous to the Estate that

it must be approved now, or risk being lost forever. The Proposed Settlement saddles the Estate

with the obligation to pay 90% of the Judgment. It is not a deal that is too good for the Estate to

pass up. The Trustee gives this Court no reason that the Proposed Settlement is beneficial to the

Debtor’s creditors or Members, and instead offers only bromides and conclusory statements,

without any substance.

          45.    On the other hand, an overly-generous settlement of the Appeal and the Judgment

harms the Members. The Proposed Settlement unjustifiably reduces the amount of money that

will be available to the Members at the conclusion of this solvent chapter 7 case. That in and of

itself causes the fourth Martin factor to weigh against approving the Proposed Settlement.

          46.    Additionally, there is material risk that the Proposed Settlement will harm the

Debtor and the Members’ reputations and ability to secure future work from federal agencies. The

Judgment Creditors’ demands for payment are justifiably characterized as a commission, and the


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Judgment essentially provides for payment of that commission. The payment of a commission to

the Judgment Creditors can therefore be perceived as the Debtor’s payment – albeit through the

Trustee – of an unlawful commission arising from an unlawful contingent fee agreement. To the

extent Debtor or its Members are perceived to have entered into such an agreement, or acquiesced

to a contingent fee payment without exhausting every legal means of challenging it, it raises the

risk of competitors or potential government customers challenging the eligibility of Debtor or its

Members for future federal contracts, under the Federal Acquisition Regulation (“FAR”)

provisions that limit contracting opportunities to “responsible” contractors (with “responsibility”

deemed to include having a “satisfactory record of business ethics and integrity.”) See FAR 9.103

and 9.014-1. The increased risk in the procurement process extends not only to the Debtor entity

that the Members hope to maintain, but also to any current or future contracting entities in which

the Members have an interest. See, e.g., FAR 9.104-6 (establishing government database and look-

back period for responsibility determination across affiliated companies) and FAR 9.403

(establishing that individuals and contractual affiliates are subject to suspension and debarment

regulations). Even if such a challenge lacked merit, the uncertainty and expense involved in

responding, and establishing a record of “present responsibility”, would impose significant costs

on the Members.

          47.    For the same reasons, the Proposed Settlement could jeopardize governmental

payment of the Debtor’s receivables. Governmental agencies can withhold or claw back payments

to the Debtor if those agencies believe that the Debtor is using those payments in ways that violate

regulations or statutes, including by paying an unlawful commission to the Judgment Creditors.

At the very least, prosecution of the Appeal and continued dispute of the Judgment can only




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reassure governmental agencies that the Debtor is not seeking to use payments from the

government to fund payment of an unlawful commission.

          48.     This point bears emphasis. The written consulting agreement between Debtor and

the Judgment Creditors offered simply to compensate the Judgment Creditors for their role in

procuring a supply of bottled water from one specific supplier in the event Debtor was able to sell

this same supply of bottled water to upstream federal agency customers under one or more federal

contracts. Such an arrangement is not unlawful. But in Judgment Creditors’ case at trial, Judgment

Creditors characterized the agreement differently, insisting they had been promised what they

called a “success fee” consisting of a specified percentage of all net revenue under any ensuing

FEMA task orders; without limitation in relation to the nature and scope of the work being

performed by Debtor and its subcontractors for FEMA; and without the Judgment Creditors

themselves actually performing any subcontract work (whether by arranging a supply of water,

supporting delivery, or otherwise performing tasks within the scope of a FEMA contract or task

order). (See Debtor’s Br. at 17-19.)

          49.     In other words, under Judgment Creditors’ interpretation of the original agreement

– which surfaced after FEMA began awarding task orders under the FEMA contract - their only

obligation was to help Debtor obtain or secure the award of a federal FEMA contract. And the

only payment to be made by Debtor to Judgment Creditors for their services was (a) legally

contingent upon Debtor successfully receiving the FEMA contract, and (b) calculated based upon

a percentage of all revenue paid by FEMA for Debtors’ work under the contract, rather than in

relation to any actual support from Judgment Creditors in a subcontracting or teaming role. 7                      If


7
 It bears mentioning that such an interpretation is objectively unreasonable based on the actual language of the
consulting agreement. A review of the relevant language in context makes clear that the agreement to provide a
percentage of net revenue was limited to quantity supplied by Niagara.

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the agreement were construed in this manner, it would constitute an unlawful contingent fee

agreement in violation of FAR subpart 3.402, under which payment by Debtor of a contingent fee

would place at risk all of Debtor’s past and anticipated future revenue under the pertinent FEMA

contract and task orders.

          50.    By way of further explanation, FAR Subpart 3.402 establishes there is nothing

wrong with Company A paying Company B to help Company A secure a government contract,

provided the obligation to pay Company B is not contingent upon Company A’s success in

obtaining or securing the contract. The problem is one of incentives. “Contractors’ arrangements

to pay contingent fees for soliciting or obtaining Government Contracts have long been considered

contrary to public policy because such arrangements may lead to attempted or actual exercise of

improper influence.” See FAR 3.402 (citing 41 U.S.C. § 3901) (also cited in Team Systems 11th

Cir. Brief at 17). In furtherance of this policy, federal contractors are required to warrant that they

have not entered into such an unlawful contingent fee agreement with any parties who may have

assisted in soliciting, securing, or obtaining the contract. See FAR 3.402(a) (prescribing mandatory

warranty against contingent fees) and FAR 52.203-5 (warranty clause disclaiming use of

contingent fees, incorporated by reference or operation of law into all negotiated federal contracts).

          51.    The consequences for breaching this warranty are serious. The prescribing clause

(FAR 3.402(a)) and the operative contract clause (FAR 52.203-5(a)) state that for any breach or

violation, “the Government shall have the right to annul this contract without liability or to deduct

from the contract price or consideration, or otherwise recover, the full amount of the contingent

fee.” In other words, if FEMA were to conclude that Debtor had entered into a contingent fee

agreement with Judgment Creditors, or had actually paid Judgment Creditors a contingent fee,

FEMA could potentially seek to annul Debtor’s contract, refuse any further payment to Debtor,


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and potentially bring a claim to claw back some or all of the monies already paid (including at a

minimum a dollar-for-dollar claim against Debtor for any contingent fee amounts voluntarily paid

by Debtor to the Judgment Creditors). Given this regulatory backdrop, the Trustee’s desire to

abandon the pending 11th Circuit appeal, and instead voluntarily pay the Judgment Creditors

millions of dollars pursuant to the Judgment Creditors’ own theory that a “success fee” was owed

as commission for helping Debtor obtain or secure either the FEMA contract or subsequent task

orders under the contract, seems imprudent and borderline reckless. 8 There would be nothing in

this scenario that would stop FEMA from bringing a claim against Debtor, citing Debtor’s

voluntary abandonment of its appellate rights as an implicit concession, and arguing that without

regard to the subjective intent of the Debtor or the Trustee, the objective facts established that

Debtor had made a prohibited contingent fee payment to the Judgment Creditors. As already noted,

if FEMA were to pursue such a course, the financial consequences for the Debtor, the bankruptcy

estate, and by extension the Members, could be devastating.

          52.     The Trustee’s motion seeking approval of the Proposed Settlement demonstrates a

complete lack of understanding and indifference to the regulatory and contractual risks arising

from the longstanding prohibition against contingent fees in the federal procurement arena. And

there is certainly nothing in the Trustee’s motion to suggest that the Trustee identified or attempted

to analyze these issues, before reaching a questionable settlement that would pay the Judgment

Creditors 90% of what is almost surely, on the existing record, an unlawful contingent fee award.




8
  Although the Judgment Creditors’ position has always been grounded in its subjective interpretation of the original
consulting agreement, a “success fee” contingent on the award of a task order under an existing contract would
likewise constitute an illegal commission. References in the FAR to a contract are construed as including not only
the original contract, but subsequent agreements in the form of task orders or modifications. See FAR 2.101.Therefore,
the result is the same whether the Judgment Creditors’ claim is based on the original consulting agreement or an
alleged modification.

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          53.    For all of the foregoing reasons, and the Motion’s lack of any discussion of the

fourth Martin factor, that factor weighs against approving the Proposed Settlement.

IV.       ADDITIONAL CONSIDERATIONS SHOULD THE COURT BE DISINCLINED
          TO DISAPPROVE THE PROPOSED SETTLEMENT
          54.    For all of the reasons set forth above, disapproval of the Proposed Settlement

Agreement is warranted. If, however, the Court is disinclined to disapprove of the Proposed

Settlement at this time, we respectfully contend that approval of the Proposed Settlement requires

additional discovery, including as to the reasons for the Trustee’s changed position concerning the

Appeal and the Judgment; the reasons for the Trustee’s refusal to accept the offer by the Members

to pay the cost of prosecuting the Appeal; and the Trustee’s reasons for pursuing the Proposed

Settlement (which are not made clear in the Motion). We understand that this Court was not

inclined to adjourn this Motion to allow such discovery prior to the Motion’s hearing. In light of

the Motion’s lack of actual reasons to approve the Proposed Settlement, and the legal standards

governing approval of the Proposed Settlement, we respectfully submit that additional discovery

is necessary before the Proposed Settlement can be considered properly.

          55.    Additionally, the Members renew an existing proposal for a way forward that

avoids harming the Debtor and the Members while protecting the interests of the Judgment

Creditors. As the Estate collects the Debtor’s receivables, the Trustee can put aside funds

sufficient to pay the Judgment Creditors’ claims in full. In the meantime, the Members can

prosecute the Appeal at their own cost. If the Appeal is successful and the Judgment is reversed,

the Judgment Creditors’ claims will be disposed, and the money set aside for the Judgment

Creditors’ claims will remain in the Estate. If the Judgment is not reversed, the Judgment

Creditors’ claims will be paid in full. This proposal costs the Estate nothing and protects the

interests of the relevant parties.

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          WHEREFORE, the Members respectfully request that the Court enter an Order denying

the the Trustee’s Motion or, alternatively, deferring resolution of that Motion for teh reasons stated

herein, and such other and further relief as the Court deems just and proper.

Dated: September 8, 2023
Wilmington, Delaware
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